IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

DONNA J, THOMAS, ADMINISTRATRIX OF
THE ESTATE OF ANDRE THOMAS,
DECEASED, ON BEHALF OF THE ESTATE

)
)
)
OF ANDRE THOMAS, )
)
Plaintiff ) Civil Action No. 09-996
)
V. ) Judge Nora Barry Fischer
)
BOROUGH OF SWISSVALE, DEBRA )
LYNN INDOVINA-AKERLY, JUSTIN ) JURY TRIAL DEMANDED
LEE KEENAN and GARY DICKSON, )
)
Defendants }

DEPOSITION TRANSCRIPT EXCERPTS
OF

DEBORAH MASH, PH.D

EXHIBIT 1

TO

PLAINTIFF’S MOTION TO EXCLUDE EXPERT TESTIMONY OF
DEBORAH MASH, PH.D. AND ANY EVIDENCE REGARDING AN
ALLEGED CONDITION REFERRED TO AS EITHER EXCITED
DELIRIUM, AGITATED DELIRIUM AND/OR DRUG-INDUCED
DELIRIUM
Deborah Mash

Donna J. Thomas et al v. Borough of Swissvale et al

8/3/2011

 

IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF PENNSYLVANIA
CASE NO 2:09 CV-00996-NBF

 

DONNA J. THOMAS, ADMINISTRATRIX
OF ESTATE OF ANDRE THOMAS,
DECEASED, ON BEHALF OF THE

ESTATE OF ANDRE THOMAS,
Plaintiff,

-vs~
BOROUGH OF SWISSVALE:
DEBRA LYNN INDOVINA~AKERLY;

-. JUSTIN LEE KEENAN; AND
GARY DICKSON,

Defendants.

 

AT: 1951 Northwest 7th Avenue
lst Floor
Miami, Florida 33130
. Wednesday, August 3, 2011
1:00 p.m.

DEPOSITION OF DEBORAH MASH

Taken before Rochel Albert, CSR and Notary
Public in and for the State of Florida at Large,
pursuant to Notice of Taking Deposition filed in the

above cause.

 

 

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6 8
1 "specifically at Harvard? 1 Alzheimer's and Parkinson's, all the way through
2 A Yes. 2 to neuropsychiatric disabilities, which, of
3 Q Do you get certificate or something for 3 course, encompass drugs and alcohol as well,
4 that? 4 Q It's a broad field, So I would like, if
5 A ‘No, you do not, 3 you could, for me to indicate for the record if we
6 Q Were you -- was this study as part of a 6 could divide things into percentages. The time
7 program at Harvard in the School of Pharmacology| 7 that you spend as a researcher, what do you mainiy
8 or was it the School of Medicine? 8 study?
9 A School of Medicine. 9 A Yes. I give one of my other credentials,
10 Q What is neuro-anatomy? 10 which J didn't provide to you, which is listed
ll A Neuro-anatomy is the study of the 11 there on the record. I am the director of the
12 _ structure of the human brain. 12 University ~ I am the director and founder of the
13 Q [also note here that you havea Ph.D, in 13 University of Miami Brain Endowment Bank. The UM
14 pharmacology, specifically neuropharmacology; is [{ 14 Brain Endowment Bank is one of the largest
15 that true? L5 postmortem coilections of human brains, I think,
16 A Yes. 16 in the world today.
17 Q And you are not a physician? 17 This was something that I started in the
18 A Yes. 18 '80s when I left Harvard and joined the faculty
19 Q You are not board certified in any 19 here. In that brain bank, there are
20 capacity as a physician? 20 neuro-degenerative cases, as well as
21 A Yes. 21 neuropsychiatric. But what is pertinent to the
22 Q Could we agree, Doctor, that you, despite 22 work that we are going to do today together is
23 all of your credentials, which are pages of them, 23 _ that I hold one of the largest -- I believe I hold
24 do not have the ability to diagnose the cause of 24 the only collection of postmortem specimens from
25 death? — [25 _ putative cases of excited delirium.
7h 9
L A Enever make a diagnosis of the cause of 1 I have also been funded by the National
2 death, and I never diagnose, treat or prescribe. 2 Institute on Drug Abuse to study CNS mechanisms of
3 What I do is serve as a consultant to those who 3 cocaine-related sudden death. If you look at the
4 do. 4 listing of the grants that I have, | have been
5 Q Correct. 5 funded in that capacity for almost two decades
6 MR. PUSHINSKY: Excuse me, Howard had 6 now, And so I have also one of the largest
7 asked you about whether you are a physician, and 7 collections of cocaine intoxication deaths, as
8 you had answered in the affirmative. Is that 8 well as cocaine-related deaths,
9 because you were agreeing with his statements, not 9 And that information, that body of work,
10 saying yes, you have those qualifications? 10 over two decades is what lays the basis for the
11 A To clarify for the record, I ara nota 1k study and working towards diagnostic specificity
12 physician. I am not licensed, And I donot i2 for excited delirium as a neurological or
13 diagnose, prescribe or treat patients. 13 psychiatric disorder. _
14 Q You are a researcher? 14 Q Is it true then, because you separated out
15 A Lamaresearcher. An NIH funded 15 the brain — I'm assuming these are slides, not
16 researcher. 16 actual brains?
17 Q Yes, ma'am. 17 A No, sir. It's a brain bank. It'sa
18 Your career has been spent on the study of 18 postmortem collection, not slides; We have
19 neuropharmacology and neurological diseases of out 19 slides, We have cryopreserved specimens, which
20 population? 20 are frozen specimens that are archived. We have
21 A I think to be succinct and for the record, 21 also from certain brain cases that we have, we
22 I have been involved since 19 ~ the middle of the 22 will have a toxicology report. We may have
23 1980s on the study of specifically the human brain 23 toxicology information. Certainly information
24 and behavior, working on a spectrum of disorders, 24 about the cause of death. Death certificates,
25 encompassing both neuro-degenerative, like 25 So what the brain bank does, it's a bio

 

 

3 (Pages 6 to 9)

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14 16
1 some Alzheimer's centers, usually academic-based] 1 My next question about Exhibit Number 2
2 research-based, university-based centers, that 2 here is that I don't see any opinion here from you
3 havea very good hit rate in terms of diagnosing 3 about whether or not Mr. Thomas suffered from
4 accurately, and then other community-based 4 agitated delirium, Is there such an opinion in
S physicians may have a lower rate, But yes, 5 Exhibit Number 2?
6 exactly the way you point out, 6 A [have it on page two.
? Q I will refer you, please, to deposition 7 Q What does it say?
8 Exhibit Number 2, which is part of your file, 8 A It says that the review of the incident
9 which is the report that you created of Andre 9 report for this case suggests that the decedent
10 Thomas? 10 was suffering from drug-induced delirium prior to
11 A Yes, sir. 11 death. i
12 _ (Plaintiff's Exhibit Number 12 Q Okay. But it doesn't say agitated
13 2 was marked by the court reporter and 13 delirium and it doesn't say excited delirium.
14 retained by counsel.) 14 What it says is that it suggests that the decedent
15 Q For purposes of the record, is this a 15 was suffering from a drug-induced delirium prior
16 report that you authored, ma'am? 16 ° to death?
17 A Yes, sir, itis. 17 A. Yes,
18 Q Did you issue this report with the 18 Q I think what you just told me was that the
19 intention that the coroner would rely upon it? | 19 opinion that Mr. Thomas was or was not suffering
20 A No, sir. When I serve as a consultant to 20 from agitated or excited delirium would be that of
2l medical examiners, which I do all over the United | 21 the coroner; is that true?
22 States, and actually Canada and Europe -- 22 A Yes, of course. The coroner always has to
23 Q Sure, 23 make the diagnosis of cause and manner of death.
24 A What I am asked to do is to conduct an 24 What I am describing here is a potential mechanism
25 analysis of the neurochemical pathology of the 25 to support that diagnosis.
15 : 17
1 brain. So in other words, in these types of cases 1 Q Like a blood test?
2 where there may or may not be an anatomic cause off ‘2 A Exactly,
3 death, there may or may not be an anatomic cause 3 Q Sending it out, correct?
4 of death, in certain occasions, because am known | 4 A> Before there was cholesterol tests, there
5 in the field as an expert on this topic, I will be 5 was someone like me running these analyses to say,
6 invited to consult with medical examiners. And 1 6 indeed, cholesterol might be a diagnostic marker.
7 - have done that for decades here in Miami. 7 Q My doctor telling me not to eat red meat,
8 The medica] examiner usually will contact 8 right?
"9 ‘me, describe the case, and ask me if I would be 9 A Somebody like me was in a lab. Some lipid
LO willing to accept a small piece of the tissue from 10 biochemist was in there measuring cholesterol.
ll the case to conduct these bio marker studies.. We {11 Q_ There are certain standards that you
12 conduct them. We conduct them blinded for 12 _ follow in order to réach that suggestion, right?
13 condition in the laboratory, They then get the 13 A Yes, sir.
14 results, We unblind and we look at it. And we 14 Q Would you refer, please, Doctor, back to
15 —_ ask sometimes the medical examiner to provideus [15 the first page, the last paragraph.
16 back some supportive information. 16 A Yes,
17 This has been an emerging -- this is what 17 Q It says, we have demonstrated a marked
18 I wouid cali an emerging science. So we are 18 increase in HSP1AB (less than 2,0 fold-change), in
19 working very much in a collaborative way with the | 19 brain specimens from cases of excited delirium in
20 medical examiner, and we provide him or her what [| 20 subjects who had recorded elevations in core body
Zi we find, And then its up to him or her to either 21 temperature prior to death.
22 accept or reject that information in the context 22 What does that mean?
23 of their forensic toxicologic and pathological 23 A What that means is a heat shock protein is
24 evaluation. 24 a bio marker.
25 Q Okay. Thank you. 25 Q i'msorry. Heat?

 

 

 

5S (Pages 14 to 17}

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18 20
1 A Heat shock protein is a bio marker for 1 Q Okay.
2 excited delirium deaths. If I may refer you to 2 A Could be or could not be. What we found
3 the Forensic Science International paper, Brain 3: was very consistent increases in heat shock
4 Bio Markers for Excited Delirium. 4 proteins. They bump up. They increase. If you
5 Q Ihaveit, yes. 5 look at that, you look at controls --
6 A This report was done in 2008. This 6 Q What tabie are we at?
‘7 article was published in 2009. And thisis when | 7 A Figure two. Start with that.
8 we completed retrospective case control analysis, | 8 MR. HAMILTON: Figure two, not a table.
9 went back and revalidated all of the material that 9 A. Controls would be age-matched sudden death
10 we had in our hands at the time. Eventually, I 10 individuals, died from other causes unrelated to
11 believe this case was included. It may be 11 drugs or alcohol. Next to it would be cocaine _
12 included in the study. 12 intoxication. _
13 If you look to figure two -- 13 MR. HAMILTON: It's a different page. She
14 Q It'sin your file; § is that right? 14 is looking at figure two on page E-17.
LS A Yes. 15 A Look undemeath. It will give you the
16 Q Iwill get it. 16 _ figure legends.
1? I¢'s not in this file. 17 Q Gotyou.
18 A You have to have this. 18 A Ifyou look at the top and the bottom
19 We didn't give him this? 19 panels, the top panel shows the control cocaine
20 MR. HAMILTON: No. 20 intoxication deaths, .These are deaths that the
21 A He needs it. Where is the big stack of 2i medical examiner said died from the toxic effects
22 ali the documents? 22 of cocaine alone or cocaine in combination with
23 MR. MESSER: J have it, anyway. 23 alcohol.
24 A Good. 24 EDs are cases where the medical examiner
25 MR. PUSHINSKY: Let's make sureit's the |25 said these were excited delirium deaths. And they
19 21
yoa same one. 1 had the phenotype of excited delirium. In the
2 MR. HAMILTON: Just to clarify. 2 absence. Nobody looked at them this way before.
3 A Here you go. You can have that. 3 Q Sure.
4 MR. HAMILTON: Howard? — 4 A They would have phenotyped them and said,
5 A That just has the pretty face page. 5 no anatomic cause of death, but they had alf the
.6 MR. HAMILTON: To facilitate the reading 6 behavioral sequelae that make us think --
7 of this -- I don't want to intrude on your 7 Q Reported by outside observers?
8 deposition. 8 A Correct. Going back to the 1850s.
9 MR. MESSER: I have already read it. 9 So that was done with what is called an
10 MR. HAMILTON: I just want to make that an | 10 Affymetrix array. That is a high throughput
11 exhibit. 11 screening technology that allows you to look at
12 MR. MESSER: Okay. 12 over 20,000 genes and look for genes that may be
13 (Plaintiff's Exhibit Number 13 up or down regulated. What we describe there is
14 3 was marked by the court reporter and 14 look at that increase. I mean, that's a very big
15 retained by counsel.) 15 increase. But you see the error bars on that?
16 Q Weare looking at Exhibit 3. 16 —_ And it shows you the spreads.
17 A Goto figure two and three. 17 Q What does it show? Increase in body
18 Q Two and three? 18 temperature correlated with --
19 A Yes, sir. 19 A No. That's heat shock proteins. In other
20: What we did is we actually had three 20 - words, it's a protein that is in our brain. It's
21 methodologies when we were validating this. When| 21 in our body, too. It's in every ceil.
22 — someone gets hot, and in this case, purported 22 Q Right.
23 cases of excited delirium -- 23 A. When you look at the mRNA, the RNA that
24 Q Purported? 24 makes the protein, or you look at the protein,
25 A Putative. 25 which is a different figure here, you see what is
6 (Pages 18 to 21)
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26 oO 28
1 A I would have to go back into the 1 became a pin trick test, there was.someone in the
2 laboratory notebooks and look. But J know for a 2 laboratory measuring insulin, like me. And that
3 fact that he was above three fold. 3° science emerges, and then it moves from the
4 Q He was above? 4 laboratory to become a diagnostic.
5 A Phree-fold elevated, We actually use him 5 One of the things that we are doing in the.
6 now as a control -- as a positive, what I would 6 course of my reséarch -- and this is why it's very
7 gall a positive control. 7 important to have collaborations. with medical
8 Q Why? 8 examiners -- is that we are actually trying to
9 A Because you want -- each time you run an 9 move it towards what you just described. You
10 —_ assay, you want to make sure that you have got 16 acknowledge a deficiency in this protocol, and you
Li ones that you can repeat.again and again and 11 are correct. ;
12 again, and you get the same value, and he runs 12 What we want to do is to move it to a good
13 very reliable on the QPCR at the higher level. 13 lab practice protocol which can be done routinely,
14 Q Is that an accepted medical test that is 14 where we actually could even perhaps sell the test
15 ° conducted routinely in various. pathological 15 __ kit to any medical examiner anywhere. And we are
16 laboratories to determine the core temperature of | 16 actually doing that right now. We are making a
1? a body before death? 17 series of plates where any medical examiner could
18 A It's a very routine assay, What you are 18 come in with a PCR machine, spot the RNA on it,
19 asking me, is it a diagnostic assay? No. 19 have positive control tissues from the archive of
20 Hopefully, it will move towards that direction in 20. ~——-RNA that we have, which we could provide to them|
21 the future, and that is why this science is an 21 and they can do it.
22 emerging science for forensic biology. Butanyone | 22 Q Would you agree ‘at this point that that is
23 can run that test. You need a PCR machine, you 23  ~notan accepted protocol?
24 need to be able to isolate RNA out of frozen 24 MR. HAMILTON: Object to fonm.
25 _ tissue, and you can analyze it. 25 A I would say --
27 29
1 Q So if] understand the answer to your 1 Q You can answer.
2 question, the protocol that you used in figuretwo | 2 MR. HAMILTON: I don't know what that
3 and figure three are not accepted medically? 3 means,
4 A They are -- J am not sure what you mean 4 Q Would you agree with me, based upon the
5 accepted medically. People accept -- 5 testimony that you have just given, that that the
6 Q. Asa diagnostic tool. 6 protocol you have described based on figures two
7 A No. They are not something that the 7 and three in Exhibit 3 are not accepted protocols
8 insurance company will pay for as.a diagnostic 8 for the diagnosis of diseases?
9 tool. They are standard, routinely used assays. 9 A That is a very broad question. So what!
10 QPCR is a very accepted assay, and in fact; QPCR 110 will say again is, the best way that I can answer
12 is used routinely in medicine, and it is also used 11 that is these are accepted protocols, The
12 in forensics, That is how you can look for DNA 12 methodology is accepted.
13 and DNA changes. And that is used all the time. 13 Q Methodology is accepted. Will you tell me
14 So the methodology -- to be precise, the 14 what is not accepted?
15 methodology that is used, isolating RNA, 15 A Okay. What I said to you is this is not a
16 quantifying the RNA and running it on these 16 diagnostic in the same way that measuring
17 machines, that methodology is routinely used in 1? cholesterol or doing a white blood cell count,
18 hospital and medicine and forensic based practice. 18 something that would be done, in other words, in a
19 Q But not for this purpose? - [19 clinical -- what you are trying to distinguish
20 A We don't have a diagnostic yet for excited 20 - here, what would be done in a clinical chemistry
21 delirium, So this is a measure which has validity 21 laboratory where our insurance would pay for it.
22 in the context of an emerging science. In order 22 No, We are not there yet with this technology.
23 for it to move -- as I said to you before, the 23 Are the methods that I used in this valid
24 example here, same thing with diabetes and 24 methods used routinely in medicine and forensic
25 insulin, before there was an insulin test, which 25 medicine and laboratory medicine? Yes, they are.
8 (Pages 26 to 29)
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30 32
Ll Q So what I understand your answer to beis | 1 Q Of agitated delirium?
2 the methodology is accepted, but the technology | 2 A Or excited delirium or Bell's mania,
3 does not exist so that the results would be 3 cocaine-related excited delirium.
4 accepted diagnostically; is that true? 4 Q  Iread it. I did read that. 1850 or so.
5 A Yes. Because in order to do that, you 5 A 1850 or so.
6 would have to have a much larger statistical 6 Then we would have.a gene or perhaps a
7 sampling. In other words, we have --I think we 7 gene-gene environment interaction that we could
8 report 90 cases here, which is the largest cohort 8 then use to help guide this process.
9 that we have, When you move to a clinical 9 Q And that would be the altimate validation?
16 diagnostic measure, you need population-based 10 A It would be the ultimate validation,
11 studies, and those are going to be on the orderof | 11 something f would be very excited to participate
12 _ thousands of patients, 12. iin.
13 That is what gets you published in 13 -Q How far away from that do you think we
14 = journals. The JAMA and New England Journal of [14 are? How many years —
15 Medicine, you have 1,000 patients. So that would |15 A It's a great question. The question was
16 require kind of a national consortium of people 16 ~ how many years are we away from it and I say it's
17 interested in participating in this to provide 17 a great question. I am looking now in the context
18 specimens to be run not only in my laboratory, but {18 of my NIH-funded grant application towards
19 to be validated in other people's laboratories, 19 candidate genes. And I think that I have some
20 independent of the work thatI do. And part ofmy /20 candidate genes that may be more robust markers
21 NIH project is to provide those. 21 that you can even do out of -- for example, you
22 Q So you are not opposed to that happening? |22 can then -- you wouldn't even have to look at the
23 A Notatall. 23 _ brain. You could just go from blood. You could
24 Q In fact, you would encourage that 24 go from tissue and look for this.
25 _ happening? 25 But again, my laboratory is smaller. So
31 33
1 A And Ihave. And that is why as part of 1 the NIH has the new toys, the new high throughput
2 the research and the recognition of two major 2 technologies were they can actually go zipping up
3 national organizations, both the National 3 and down the entire DNA, and we are in the process|
4 Association of Medical Examiners, who haveinvited | 4 — of looking at that. ,
5 me to speak in their national meetings, as well as 5 How long? Would I teil you a year to two ©
6 the American College of Emergency Room Physicians,| 6 years until we get positive hits? Yes. But
7 -to begin to start to move towards understanding 7 again, it's a numbers game. You have got to have,
8 that we do need an archive of these specimens, and 8 A, we are relying, as you pointed out, on a
9 that these need to be shared and validated and 9 diagnostic impression of a medical examiner, We
10 cross validated. 10 start with that. Ifhe or she is wrong, then I
di Q And that validation process would involve 11 have got an outliers in there.
12 not only yourself doing research here at the 12 Q It's a very complicated process.
13 University of Miami, It would involve other 13 A No. It's an iterative. It's an iteration
14 researchers throughout the United States doing 14 ona curve, You are always going to see outliers.
15 similar types of validation mechanisms on a broad {15 Even with a cholesterol test, for example, you can
16 range of the population? 16 have somebody who is an outlier. I run super high
17 A Yes, sir. To that end, I collaborate with 17 cholesterol. I manufacture all kinds of
18 investigators at the National Institute on Health, 18 cholesterol. Every one of my other cardiac
19 —_ because one of the big pushes for this research 19 markers are great. Iam probably one of those
20 now, which I think could move us towards a 20 women, those old ladies who makes a ton of
21 forensic biology diagnostic, which would be larger 21 cholesterol and doesn't die. So I am an outlier,
22 than what I can do in my own laboratory, would be 22 Q Tam-with you.
23 to look for a gene, a genetic -- to really 23 A Ifthey look at my genetics, I am not
24 describe for the first time the genetic 24 going to fit in that risk profile. So there will
25 underpinnings of this disorder. 25 always be outliers, But it becomes a numbers
9 (Pages 30 to 33)
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. 34 . 56
1 _ best mirrors the ICD 9 codes and the DSM will be 1 values I had at the time in the lab,
2 excited delirium, 2 Q If we look at this excited delirium
3 I have cases of where the medical examiner 3 parameters, high affinity 3.7 plus or minus 0.2?
4 called it acute exhaustive mania, which was 4 A Ub-huh.
5 __ because there were no drugs in the system, 5 Q And across from that it say 7.8 plus or
6 Mirrors, looks identical, to this person that we 6 ininus one, Are these all standards or do these
7. are describing today, but no cocaine and no 7 actually apply to Mr. Thomas?
8 history of drugs on board. So the medical 8 A Ne. These, the bottom ones, are reference
9 examiner would look to the literature to try to 9 ranges. Yes, sir. _ .
10 come up with a title, named it acute exhaustive 10 Q So none of this applies to any of the
1] mania, ala Bell's mania. So that makes it even 11 blood samples of Mr. Thomas, or brain tissue or
12 more difficult because the terms keep changing. 12s anything?
13 Q On the bottom half of this pagein Exhibit [13 A The ones on the bottom, no, sir. Those
14 Number 5, there's some handwriting that says DM|14 _ are reference ranges.
15 report says -- is that your writing, ma'am? 15 Q On both columns?
16 A No, it isn't. 16 A Yes, sir.
17 Q Can you read it, please, if you can? 17 Q The next page is AGONAL state form. Is
18 A Itsays chronic cocaine abuse. 18 this your form?
193 Q And then there's DA/WIN. Arethosethe [19 A. Itis my form.
20 _ initials of your people? 20 Q. And at the top it says information
21 A No. That's dopamine WIN. The WIN binding | 21 provided by A, Shakir, M.D. He is the medical
22 parameters are that -- in the what you see —~ 22 examiner; is that right?
23 she’s referring back to our laboratory results. 23 A Yes, sir.
24 ‘That is all that is. 24 Q You see ~ is this your handwriting on
25 And then below it -- should keep going? }25 _ this?
55 , 57
1 Q Sure. 1 A No, sir. My handwriting is at the bottom.
2 A Below it says metoprolol. She wrote on 2 Q Do you know whose handwriting this is?
3 board. DM said heat shock protein indicates 3 A I donot, sir.
4 drug-induced delirium. So I felt at the time of 4 Q Would the information that is contained on
5 my review of this that this really was a case of 5 this form have been transmitted to you then by’
6 excited delirium, that he fit the bill. Albeit he 6 Dr. Shakir? .
7 was an -- what I believed at the time when I 7 A. It says on the form information provided
8 reviewed this, is based on neurochemical findings,| 8 by Dr. Shakir. So it would have come from his
9 that he was in an earlier stage of this disorder. 9 office, yes, sir.
10 And I really felt that the metoprolol had to be 10 Q Is that your handwriting, ma'am?
12 taken into consideration in this case. 11 A Yes, sir.
12 Q Okay. , 12 Q  Itsays taser, one probe, one shock with
13 _—A_=iIt's an interesting case. 13 _ two probes?
14 Q Do you see on the left side of the page it [14 A Yes. I was trying -- I think I was
iS says excited delirium, cocaine and overdose. 15 looking at the chart to try to see at the time. |
16 = drug-free contro] parameters? 16 didn't know how many taser clicks there were. And
17 A Yes, sir. 17 the only thing we got from the -- on that was just
18 Q Are these the norms? 18 what was provided in the actual autopsy findings.
19 A These would have been what we would have! 19 I have never seen any of that information.
20 reported probably at the time that we did this 20 Q Do you get paid for doing all this?
21 assay. They may or may not agree with, more or | 21 A No.
22 less. They will be in the same range as what is 22 Q This is free?
23 in the publication. But this is an earlier -- 23 A No. I don't know if we -- sometimes we
24 remember, the paper was published in 2009 and | 24 try to collect 750. It used to be 400, $500, 750,
25 these were probably going against thereference {25 It's part of the -- I am trying to get some
. 15 (Pages 54 to 57}
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58 60
i reagent costs back. We do this consult, 1 Q Yes, I didn't see any of that published
2 basically. We underwrite it as part of the NIH. 2 yet. i
3 Q Do you have a private company that does | 3- A Yes. But in the original work that |
4 this? 4 brought you, some of the original papers -- I
5 A No,I don't. 5 brought you everything so you would have it. On
6 Q So you send out a bill and you 1 hope you 6 the original paper that we did, it actually
7 get paid? 7 describes that they're disproportionately large,
8 A Yes. 8 black men, that they are men,
3 Q Got you. 9 .So the question becomes what is going on
10 A That was a — I am saying yes. And we 10 _ here. One of the things that immediately comes to
11 really -- the value added here is that this is Ll your mind is, okay, what gene is sitting on the Y
12 very important to support. I feel that it'sa 12 chromosome or the X chromosome. that could
13 privilege to be part of this analysis. It's a 13 _ predispose, because, obviously, if women, we have
14 privilege to work with medical examiners, and I am | 14 two X chromosomes. So if we are carrying one bad
15 privileged because I have an NIH grant to study 15 gene, we can lose the effect of that one bad gene
16 excited delirium. 16 if we weren't carrying it on this side.
17 And the peer review has accepted excited 17 But if we are a male, and we have only. got
18 delirium as a condition. Ihave been funded todo |18 — one X chromosome and that gene is sitting there,
19 this for over 18 years. So the only way that we 19 then that would give you a larger percentage of
20 can do this is by the cooperation of working with 4 20 that falling out. And if you read my grant
21 medical examiners. And if not for them, none of 21 application, we are going after that,
22 this science would emerge. 22 Q Yes, because from the information that I
23 Q Ihave been trying to figure out something 23 have seen on the internet and so on, I have only
24 as a layman. Why are they ali men? 24 seen two or three documented cases where somebody
25 A Great question. That is a great question. 25 _ has actually said a female died of excited or
59 61
1 MR. PUSHINSKY: We get paid for asking 1 agitated delirium.
2 great questions. 2 A We have them and they are in my published
3 A That is a $50,000 question.‘ Come work in 3 report. You see the smalier percentage. I
4 the lab with me. That is a $50,000 question. 4 actually thought, is it something different? Are
5 Originally, when we began, Dr, Rutenberg, ° the men being handled different? Early on I asked
6 whose name you will see on some of these papers, | 6 the question, are men being treated differently
7 came down from the Center for Disease Control, and 7 than women? Are women who are ina state of
8 came to Miami, and that is actually how I got 8 excited delirium getting transported to the ER,‘
9 pulled into these studies, 9 while men are going into the police car and to
10 And Dr. Rutenberg says, we have no 10 lock-up?
12 anatomic cause of death. We don't know why these} 11 And I thought one of the ways to look at
12 _ people are going off on cocaine. Miami was atthe |12 this was to go to the ER and check the -- doa
13 front-end loading of the cocaine epidemic. 13 retrospective review of the ER records to see if]
14 Q Imagine that. 14 could find the women in the ER. They weren't
15 A So we had more of these cases. And that 15 there. I have never published this work. I
16 is why the seminal publications were Dr. Wetli 16 should publish it. But we actual looked for
17 down the street at the medical examiner's office. 17 gender differences in cocaine psychosis. Back
18 Immediately, it suggested that these were 18 then we called it cocaine psychosis and sudden
19 disproportionately men. These were 19 death. Because certainly there are plenty of
20 disproportionately larger men with bigger body 20° women smoking crack or using methamphetamine
21 masses, and frequently black males. 21 Q Yes, it's not only men that abuse drugs.
22 Q African-American men? 22 A No, sir. They are not. And I have
23 A Yes, sir. And so actually, my cohort 23 _ reviewed cases of real -- what I believe are
24 study, we have more representative of black, 24 really well-described, phenotypically cases of
25 _. white. 25 __excited delirium. It's very interesting because
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Deborah Mash

 

 

 

 

 

 

Denna J. Thomas et al v. Borough of Swissvale et al 8/3/2011
70 72
1 paranoia, If you look at somebody who is a crack 1 that article, and I am going to quote a sentence
2 abuser, they are going to be paranoid. That is 2 from his letter, which you can read.
3 common. We are not talking about paranciain the | 3 MR. HAMILTON: I am going to object to the
4 context. 4 form.
5 ’ This is the Hulk Hogan syndrome, These 3 Go right ahead.
6 are the ones that they don't respond to the taser. 6 Q Have you seen that letter before?
7 They don't respond to pepper spray before the 7 A [haven't looked at it recently. Yes, I
8 taser. They don't respond to baton strikes. It 8 read it.
9 takes three, four officers. They continue to 9 Q What he says in this letter is this.
10 struggle. They go, they go. They areimpervious [10  Subjectsin a state of excited delirium are seen
11 topain. J already said that. They don't respond 11 every day in the emergency department across the
12 to verbal commands. 12  _—s country, but not all die. In fact, the majority
13 There's this issue that you can perhaps 13 donot. Best current published information, which
14 talk down psychiatric patients when you do crisis | 14 includes the White Paper, I believe, is that the
15 invention. If you think you have a psych patient 15 fatality rates in subjects presenting with excited
16 who is becoming abnormal because he or she isnot | 16 ~_ delirium syndrome (EsDS) is around eight percent.
17 on medication, you can usually talk them down. a7 A May I see that? .
18 You can usually calm them down a bit and say, I am] 18 Q_ So clarification should be made that the
19 here to help you. I am not going to hurt you. 19 respiratory arrest, hyperthermia and death are not
20 In the case of excited delirium, even 20 necessary components to define excited delirium.
21 where you have recorded police episades where the | 21 MR. PUSHINSKY: Hold on one second.
22 __ police are saying, I am here to help you, guy. 22 MR. MESSER: I'm sorry. You're right.
23 Comeon. Get out of the middle of the road, you 23 | Letme go back. Wrong question,
24 are going to get hurt, they go off ballistic and 24 Q This letter was written in response to
25 they are not responsive to commands. So this is 25 | Dr. Jauchem, J-A-U-C-H-E-M, article.
71 73
1 at the extreme end of the neuropsychiatric 1 A Which came out recently, which is more
2s continuum. 2 recent,
3 Q Got you. 3 Q > Yes, ma'am.
4 A The question, do those survive, yes, 4 ’ A It's arecent report, and that was in
5 cocaine psychosis, you survive. Paranoia in 5 response to him,
6 —_ gontext, you survive. You get some medication and 6 Q I misquoted the whole thing. I withdraw
7 you are in the ER, you will calm down and you will 7 that question.
8 be released. 8 A It's all right.
9 Q Got you. I think I found what I wanted 9 The issue that you raise is a very
10 to. Hf you remember, you are the author of this 19 important one and valid one. It's what we are
11 Exhibit Number 3 called from the Forensic Science ]11  —_ teaching everyone, saying please get the people to
12 _ International, I believe. 12 the ER. The bottom line is what Dr, Vilke, who is
13 Do you remember that, ma'am? 13 a fantastic clinician and well-regarded
14 A Yes. 14 clinician -- if I may see that.
15 Q Subsequently to the publication of that 15 The review article by Jauchem I believe
16 article, there was a letter to the editor written 16 was from the Uniformed Health Services. I can be
17 by Dr. Gary M. Vilke, M.D. Do you know him at [17 wrong. He might be an NIJ person. I don't have
18 all? 18 that paper here. But he wrote this is a very new
19 A Ido. 19 review, and it's an incredibly exhaustive review,
20 Q How do you know him? 20 He makes from the retrospective case control
21 A By reputation. 21. review that he does in this paper, he makes the
22 Q Wasn't he also on the committee with you 22 issue -- he raises the issue. His conclusion is,
23° on the White Paper? 23s should say, that they die.
24 A [believe so, yes. 24 Dr. Vilke is saying that they see them all
25 Q He wrote in response to the publication of 25 the time in the ER and they don't die. My
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1 understanding -- that may be his ER, where he 1 that you medical people are trained to be good
2 works. My understanding from our ER where -- my} 2 takers down of information. Jn other words, I
3 emergency department here at Jackson where I 3 would think that a person presenting to an
4 actually went in with doctors, forensic 4 emergency room with the symptoms of excited
5 investigators who were working for me at the time, | 5 delirium would be documented accurately by a
6 and did the chart review, is that we didn't see 6 nurse, a physician or a physician's assistant in a
7 that. 7 better way than a police officer would do it.
8 And I would be surprised by that because 8 Would you agree with that or not?
2 Miami was on the front-end loading of the 9 A. I think that medical professionals can
10 description of excited delirium. So we got the 10 identify and recognize a medical condition better
it EMS people to get them over there. Andwedidn't }11 than a police officer.
12 see this. 12 Q Is there anything that you question when
13 MR. HAMILTON: See what? 13 _-you create the statistics and continue to study
14 A Sorry. We didn't see -- 14 this situation that sort of bridges that gap? In
15 Q Ninety percent survival. i5 other words, if a police officer, we can agree,
16 A --ninety percent survival. I think I 16 think, normally would not be trained in medicine
17 would say with humility and respect for my 17 and recording this type of symptomatology, how do
18 colleague that the jury is out on this. 18 we know that they are accurately portraying what
19 Q_ Even if it's 50 percent, that is stilla 19 fs agitated/excited delirium? an
20 = Jot of people, isn'tit? 20 Do you follow what I am saying? How can
21 A The point is, you -- in order to say that 21 swe rely upon a nonmedical provider to give us
22 the condition was excited delirium in the ER, he 22 _ accurate information about the symptoms of a
23 would have to do a psychiatric consult to soreen 23 __ patient or a person?
24 out cocaine psychosis from true excited delirium. | 24 A I think that you raise a valid point. J
25 I don't think we are there yet, Right now, ED 25 think that, however, what you do in this case is
73 77
1 syndrome is one that involves hyperthermia, We 1 you combine all the information that you have. So
2 know if you control the hyperthermia, you are not 2 it starts -- if you look at the excited delirium
3 going to die. That we know. Because the 3 checklist that I have -- .
4 hyperthermia, that is probably the switch that 4 Q We haven't gotten there yet. I think that
5 puts you over the deep end. 5 is the last --
6 One of the things that we get -- and 6 A I think it speaks to your question
7 again, how many people in society go through thesel 7 exactly.
1 8 excited delirium steps?. Are there flicker 8 Q Okay.
19 episodes? And maybe what he is describing there 9 A Wehave developed this checklist and
10 is what we call a flicker episode. 10 others have improved upon it. I think --
11 Thave actually been a consultant on cases 11 Q When you say we, who does that pronoun
12 where I went into court where there was clear 12 apply to?
13 evidence that someone had flicker episodes. 13 A It was Dr, Weitli, myself and Dr. Cole and
14 Looked like excited delirium, but were not fatal. [14 Dr. Karch were the original excited delirium
15 In this case, you may have the same thing with a 15 checklist. Now it's on the intemet. You can
16 flicker episode with a rhabdomyolysis episode. 16 _ find it. People are using -- I believe it's
1? Q You have been deposed before I take it? | 17 getting used.
18 A Yes. . 18 Q Everywhere. Okay.
19 Q How many times? 13 A I don't know about everywhere, but it's
20 A On excited delirium? 20 - getting used.
24 Q Yes, ma'am. 21 So when you look at this, this tries to
22 A I would guess maybe 20 or 30, 22 help capture, understanding that the descriptions
23 Q Wow. 23 of the behavior may not be 100 percent,
24 Here is the thing that I am wondering 24 understanding that you are going to get bits and
25 about. All my doctor buddies in cases tell me 25 pieces, there may be differences in the reporting _|
20 (Pages 74 to 77}
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